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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

              Plaintiffs,
                                               Case No. 8:19-cv-710-MSS-TGW
        v.

  BRIGHT HOUSE NETWORKS, LLC,

             Defendant.
  _________________________________/

     NON-PARTY MARKMONITOR’S NOTICE OF INTENT TO REQUEST
                        REDACTION

        Pursuant to this Court’s instruction at ECF No. 746, Non-Party MarkMonitor,

  Inc. (“MarkMonitor”) hereby gives notice that it intends to request redaction of the

  transcripts of the hearings held on July 28, 2022 and July 29, 2022 before Judge

  Scriven, entered on the docket at ECF Nos. 744 and 745. Pursuant to ECF Nos. 744

  and 745, MarkMonitor will file a motion to redact portions of the transcripts on or

  before August 24, 2022.

        Respectfully submitted this 9th day of August 2022.

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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 9, 2022, I caused the foregoing

  document to be filed electronically with the Clerk of the Court using the CM / ECF

  system, which will send a notice of electronic filing to all counsel of record

  registered with CM / ECF.

  Dated: August 9, 2022

                                       /s/ Chantel C. Wonder ____
                                       Chantel C. Wonder, Esq.,
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